     19-05053-cag Doc#168 Filed 06/16/21 Entered 06/16/21 13:30:59 Ltr/Exhibit int ptys Pg
                                          1 of 1
                              UNITED STATES BANKRUPTCY COURT
                                      Western District of Texas
                                         615 E. HOUSTON STREET, ROOM 597
                                                SAN ANTONIO, TX 78205
Barry D. Knight                                                                                                       (210) 472−6720
CLERK OF COURT

DATE:         June 16, 2021

Boris Treyzon
Abir Cohen Treyzon Salo, LLP
16001 Ventura Blvd., #200
Encino, CA 91436




RE: Exhibits
      Adversary Proceeding                 19−05053−cag
                      No.:
                Case Style:                Schmidt et al v. AAF Players, LLC et al
Dear      Mr. Treyzon:

         A final order was entered on 5/5/21 regarding the following contested matters:
                                      #151 Motion To Quash and Motion for Protection from Third Party
                                      Subpoena To Capitol Broadcasting Company, Inc. filed by Brent D.
                                      Hockaday for Defendant Thomas G. Dundon.


      Exhibits that were submitted to the Court for consideration are no longer necessary as a dispositive order has
been entered.

       Please notify the Bankruptcy Court Clerk's Office in order to retrieve the exhibits, submitted by you, no later
than 6/28/21 If we do not hear from you by this date, your exhibits will be destroyed by the Bankruptcy Clerk's
Office without further notice.


                                                                     Barry D. Knight
                                                                     Clerk, U. S. Bankruptcy Court

                                                                     BY: Daniel Paez




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                                                                                                                    [Exhibits Letter] [Ltrex]
